                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELA\ryARE

 In re:                                                            Chapter     11


 PROMISE HEALTHCARE GROUP, LLC,                                    Case    No. 18-12491(CSS)
 et al.,
                                                                   (Jointly Administered)
                            Debtors.l
                                                                   Hearing Date: December 4, 2018 at 11:00 a.m. ET
                                                                   Objection Deadline: November 27,2018 at 4:00 p.m.
                                                                   ET

                                                                   Ref. No.37

         OBJECTION OF STRATEGIC GLOBAL MANAGEMENT,INC. TO
       DEBTORS' MOTION FOR ENTRY OF ORDERS (IXA) ESTABLISHING
     BIDDING PROCEDURES RELATING TO THE SALE OF CERTAIN OF THE
 DEBTORS' ASSETS,INCLUDING APPROVING A BREAK.UP FEE AND EXPENSE
    RB,IMBURSEMENT, (B) ESTABLISHING PROCEDURES RELATING TO THE
 ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
 UNEXPIRE,D LEASES,INCLUDING NOTICE OF PROPOSED CURE AMOUNTS, (C)
  APPROVING F'ORM AND MANNER OF NOTICE RELATING THERETO, AND (D)
     SCHEDULING A HEARING TO CONSIDER THE PROPOSED SALE; (IIXA)
   APPROVING THE SALE OF CERTAIN OF THE DEBTORS' ASSETS FREE AND
     CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, (B)
       AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
  EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND (C) AUTHORIZING
     SUCCESS HEALTHCARE 1, LLC TO GRANT LIENS; AND (III) GRANTING
                            RE,LATED RE,LIEF




lThe Debtors in these Chapter    ll   cases, together with the last four digits of each Debtor's federal tax identification number, are
as follows: HLp HealthCaie, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital, L.L.C. (5340), Promise
Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1S95), Promise Healthcare Holdings, Inc. (2601), Bossier Land
Acquisition Corp. (6b++¡, HLP of Los Angeles, LLC(9102), HLP of Shreveport, Inc. (1708), HLP Properties atThe Villages
Holdings, LLC i00ò6), HLP Properties at the Villages, L.L.C. (193S), HLP Properties of Vidalia, LLC (4255), HLP Properties,
fnc. 1OõO'S¡, promise Healthcare òf California, Inc, (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc.
(9219), promise Hospital of Baton Rouge, Inc. (SS3l), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc'
iOZ+Oj',
         promise Hospital of East Los Angeles, LP. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise
Èospúl of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc, (8552), Promise Hospital of Overland Park, Inc. (5562)'
promise Hospital of Phoenix, Inc. ltltS¡, Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg' Inc.
(2834),promìse Hospital of WichitaFalls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc'
         promise proierties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752)' Promise
iSOOSj,
òfitteã Nursing Faciiity of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203)' St' Alexius
Hospital Corpõration   it   (zløq, St. Alexius Properries, LLC (4610), Success Healthcare l, LLC (6535), Success Healthcare 2,
LLi (8361), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behaìioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center
at the Villages ,tnc. (l5ZO), and PHG Technology Development and Services Company, lnc. (7766). The mailing address
                                                                                                                                for the
Debtors, .oftly   fo. purposes of notices and  communications,   is 999 Yamato    Road, 3rd FL, Boca  Raton,  FL 3343  1.




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                                                                                o'Debtors' Motion
          Strategic Global Management, Inc. ("Strategic") hereby objects to the

for Entry of Orders (I)(A) Establishing Bidding Procedures Relating to the Sale of Certain of the
Debtors' Assets, Including Approving                a Break-Up Fee and Expense              Reimbursement, (B)

Establishing Procedures Relating to the Assumption and Assignment                          of Certain Executory

Contracts and Unexpired Leases, Including Notice of Proposed Cure Amounts, (C) Approving

Form and Manner of Notice Relating Thereto, and (D) Scheduling a Hearing to Consider the

Proposed Sate; (II)(A) Approving the Sale of Certain of the Debtors'Assets Free and Clear                        of

All Liens, Claims, Encumbrances, and Interests, (B) Authorizing the Assumption                   and Assignment

of Certain Executory Contracts ønd Unexpired Leases, and (C) Authorizing Success Healthcare

l,   LLC to Grant Liens; and         (IIl   Granting Related Relief'[D.L 37] (the "Sale Motion"),2 and

respectfully represents as follows:


                                                INTRODUCTION
           1.       Strategic and     its affiliates own and/or manage             seven hospitals   in   Southern

California.3 Strategic plans to submit a Bid, and participate in the Auction, for the purchase of

substantially all of the assets of Silver Lake Medical Center.o Silue. Lake Medical Center is a

234-bed, 2-campus short term acute care hospital located                      in Downtown Los Angeles and
Rosemead, California.




2
    Capitalized terms not defîned herein have the meanings set forth in the Sale Motion.

3 Strategic and its affiliates own and/or manage the following hospitals: Victor Valley Global Medical Center
(Victorville, CA); Hemet Valley Medical Center (Hemet, CA); Menifee Valley Medical Center (Sun City, CA);
Orange County Global Medical Center (Santa Ana, CA); South Coast Global Medical Center (Santa Ana, CA);
Chapman Global Medical Center (Orange, CA); and Anaheim Global Medical Center, (Anaheim, CA)'

a
  Strategic has previously disclosed to the Debtors, and hereby discloses to the Court and parties in interest, that
peter BãronoffJoined Strategic as its Chief Executive Offlrcer in May 2018. Mr. Baronoff was one of the three
founders, and the former Chief Executive Officer and Chairman of the Board, of the Debtors. He resigned his
position as Chief Executive Officer of the Debtors in March 2018 and resigned from the Board of Directors of the
Debtors in May 2018.



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           2.          Notwithstanding Strategic's desire and intention to participate in the bidding,

certain of the Bidding Procedures set forth in the Sale Motion unfairly and improperly favor the

Stalking Horse Bidder and are likely to chill bidding. The most egregious of these provisions,

until it was remedied on November 21,2018, was the "no shop" provision of the Stalking Horse
APA, which prohibited the Debtors from soliciting, inducing or knowingly encouraging                         an

Acquisition Proposal from the date of the Stalking Horse APA (October 24, 2018) until the

earlier of (i) twenty-five (25) days after the Petition Date Q.{ovember 30, 2018),5 or (ii) entry of

the Bidding Procedures Order (Stalking Horse APA $$ 7.1(b), (c) at 38 and Appendix                          1.1

(Definition of Acquisition Proposal) [D.I.         37 -5,   pp. 46, 7 8]).

           3.          A no shop provision o'violates the underlying policy of the Bankruptcy Code to
maximize the value of the estate for the creditors by stifling the bidding process for the assets of

the   debtor." Pacfficorp Ky. Energt Corp. v. Big                 Rivers EIec. Corp (In re Big Rivers Elec.

Corp.),232 B.R. 739, 753 (D. Ky. 1998). See also Fox Sports Net lVest 2, LLC v. Los Angeles

Dodgers LLC            (n     re Los Angeles Dodgers LLC),465 B.R. 18,28-29 (D. Del.        20ll)   (suggesting

thata contract containing a no shop clause that was executed in anticipation of bankruptcy and

conditioned on approval of the bankruptcy court may be invalid as a violation of fiduciary duty);

Prime Healthcare Mgmt. v. Valley Health Sys.                (n re Valley     Health Sys.),429 B.R. 692 7l-16

(Bankr. C.D. CaI.2010) (holding thata Chapter 9 debtor, unlike a Chapter 11 debtor, has no

fiduciary obligations and may enter into          a no shop agreement that prevents     competitive bidding).

           4.          The Sale Motion was filed with the Court on November 6, 2018, and Strategic

requested due diligence materials from the Silver Lake Debtors on November 12,2018. Citing

the no shop provision of the Stalking Horse APA, counsel for the Silver Lake Debtors initially

refused Strategic's request, but on November 19, 2018, they informed Strategic that they had

obtained a waiver              of the no shop provision by the Stalking Horse Bidder. Thereafter,            on




'The Petition Date for the Silver Lake Debtors was November 5, 2018.


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November 2I,2018 (the day before Thanksgiving), the Silver Lake Debtors provided Strategic

with    access       to the Silver Lake data room, together with copies of the Exhibits, Annexes            and

Schedules          to the Stalking Horse APA. Strategic appreciates the efforts of the Silver Lake
Debtors in obtaining the waiver but notes that it will have only 30 days in which to conduct its

due diligence, obtain financing, and formulate its bid before the proposed Bid Deadline of

I)ecember 2I,2018. Meanwhile, the Stalking Horse Bidder has had more than ayear to in which

to conduct due diligence and obtain financing.6

              5.        There are numerous other issues with the Bidding Procedures and Bid Protections

which are designed to structurally favor the Stalking Horse Bidder and discourage competitive

bidding. As discussed below, these provisions are unfair and improper and need to be revised in

order to level the playing field, encourage bidding, and maximize the proceeds of sale.

                                                   OBJECTION

I.            The Minim                                   r   isions Are U
                                        ers.
              6.        Section 5.a   of the proposed Bidding Procedures lD,l. 37-2, p. 6l defines           the

Minimum Bid for participation in the Auction as follows

                        Purchase Price. Each Bid must clearly set forth the purchase
                        price to be paid (the "Purchase Price"). The Purchase Price must
                        propose a purchase price for all or substantially of the Purchased
                        Assets, including any assumption of liabilities, that has a value that
                        equals or exceeds the sum of the following (a "Minimum Bid"), ot
                        determíned one week prior to the Bid Deødlin¿ in consultation
                        with the DIP Agent, the Secured Lender, and the Committee: (i)
                        the Cash Purchase Price, (ii) the Bid Protections, and (iii)
                        $1,000,000 (i.e., $87,150,000), subject to the adjustments set forth
                        in the Stalking Horse APA.

(emphasis supplied).




6
 The Sale Motion states that the final round of pre-petition bids was conducted in July 2017, and the Silver Lake
Debtors executed the Original Purchase Agreement with the Stalking Horse Bidder on February 7, 2108 (Sale
Motion llT l5-16 [D.I. 37, p. 7]).



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               7.          This requirement for the Minimum Bid makes no sense. Firstly, it is unfair for

the Debtors to be able to change the amount of the Minimum Bid one week prior to the Bid

Deadline. The amount of the Minimum Bid should be fixed no\ry so that all potential bidders can

plan accordingly. Secondly, the $87,150,000 amount cannot be accurate. The Cash Purchase

Price (an undefined term) presumably means the Stalking Horse Bidder's nominal Purchase

Price of $84,150,000 before adjustments. However, the nominal Purchase Price of $84,150,000,

plus the Bid Protections ($4,524,500) and the $1,000,000 minimum overbid amount, equals

$89,674,500, not $87,150,000. The Minimum Bid amount in the Bidding Procedures should be

clarified, should be the same for all bidders, and should not be subject to change.

               8.           Section 5.d of the proposed Bidding Procedures lD.L 37-2, p.      6l requires each
bidder to tender a Deposit, as follows:

                           Deposit. V/ith its Bid, each Potential Bidder must submit by wire
                           transfer of immediately available funds, a cash deposit in the
                           amount equal to six percent (6%) of the aggregate Purchase Price
                           set forth in the Bid, to be held in an interest-bearing escrow
                           account to be identified and established by the Debtors (the
                           "Deposit").
               9           This Deposit amount is both unclear and discriminatory. It is unclear whether the

Deposit amount is required to be 60/o of the nominal Purchase Price before adjustments, or

whether it can be 6Vo of the Purchase Price after adjustments.T It is discriminatory because the

Deposit by the Stalking Horse Bidder is $5,000,000 (Stalking Horse APA $ 3.2 at 11 [D.I. 37-5,

p. 191), which is only 5.94% of the Stalking Horse Bidder's                     nominal Purchase Price of

$84,150,000. If the Deposit for other bidders is 6Yo of a nominal Purchase Price of $89,674,500

(the Minimum Bid), the Deposit for competing bidders                 will be $5,380,470, or $380,470        more

than the Deposit by the Stalking Horse Bidder.



7
  There is a significant difference between the nominal Purchase Price before adjustments and the Purchase Price
after adjustmentt. In the Stalking Horse Bid, the nominal Purchase Price is $84,150,000 before adjustments, but is
expecteâ to be only $77.5 million after adjustments (which amount includes the $8,I million Seller Note). See Sale
Motion f l9 [D.I. 37, pp. 9-10].



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               10.          To be fair, the Deposit should be $5,000,000 for all bidders. Alternatively, the

Stalking Horse Bidder should be required to increase its Deposit to $5,049,000, which is 6% of

its nominal Purchase Price of $84,150,000.

II.            The Minimu                                                      Pr tections Are

               1   1.       The proposed Auction procedure contemplates that the Debtors will review all

competing Qualified Bids and               will   select the best Qualified Bid as a Baseline Bid one day prior

to the Auction (Bidding Procedures $ 7 at 10 [D.I. 37-2, p. 11]). The Minimum Overbid
Increment for the first Overbid at the Auction is then set at $2,500,000 above the Baseline Bid

(Bidding Procedures $ 7.b(i) at 11 [D.I. 37-2,p.                  lll).   This Minimum Overbid Increment is

unreasonably               high. It is 2.97o/o of the Stalking    Horse Bidder's nominal Purchase Price of

$84,150,000 before adjustments, and 3.2Vo                    of the Stalking Horse Bidder's      expected 577.5

million Purchase Price after adjustments. In order to promote spirited bidding, the Minimum
Overbid Increment should be reduced to no more than $1,000,000, the same amount as the

minimum overbid amount (above the Bid Protections) required to participate in the Auction.

               12.          The aggregate Bid Protections (52,524,500 as a break-up fee and $2,000,000 as an

expense reimbursement) are also excessive. Together, they constitute almost 5.4Yo                            of   the

Stalking Horse Bidder's nominal Purchase Price of $84,150,000 before adjustments, and more

than 5.8% of the Stalking Horse Bidder's expected 577.5 million Purchase Price after
adjustments.s




t Notably, the Debtors are also proposing to pay other large amounts from the proceeds of the sale of Silver Lake
Medical Center: (a) $2.a million to McDermott V/ill & Emery LLP for pre-petition work as attorneys for the Silver
Lake Debtors in connection with the sale [D.L l 02] ; (b) a success fee of $ L 8 million to MTS Health Partners, L.P.
as investment banker to the Silver Lake Debtors [D.L l03], and (c) a bonus to Dr. Charles Posternack of $500,000 if
the Successful Bid is $5 million to $9,999,999 in excess of the Stalking Horse Bid, or $1 million if the Successful
Bid is $10 million or more in excess of the Stalking Horse Bid [D.I. 106]. When combined with the Bid Protections,
the total amount to be paid from the sale proceeds (prior to any payments to creditors) could total 59,724,500
(11.6% of the Stalking Horse Bidder's nominal Purchase Price of $84,150,000 before adjustments, and l2.5Yo of the
Stalking Horse Bidder's expected $77.5 million Purchase Price after adjustments),



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                 13.       Recent studies of break-up fees and expense reimbursements in bankruptcy cases

demonstrate that the aggregate Bid Protections in this case aÍe extremely high. Attached hereto

as Exhibit            A is the Declaration of Cynthia A. Nelson of FTI Consulting, Inc. filed in the Verity
Health System of Califurnia, Inc. Chapter I 1 cases in the United States Bankruptcy Court for the

Central District of California (the "Verity Cases") on October 12,2018. The study of break-up

fees and expense reimbursements compiled therein for bankruptcy sales ranging from $50

million and $250 million from 2017 to the present reflects that the median break-up fee is 3%,

and the median expense reimbursement is $500,000. Attached hereto as Exhibit                                B is   the

Declaration of Benjamin Ilhardt of Houlihan Lokey Capital, Inc. filed in the Verity Cases on

October 17,2018. The study of break-up fees and expense reimbursements compiled therein for

bankruptcy sales ranging from $125 million to $350 million (significantly larger than the sale in

this case) with petition dates after January 1,2016, reflects that the median break-up fee is                      30lo,


and the median expense reimbursement is 0.6% or $1.2 million.e

                 14.        In view of these studies, the proposed break-up fee in this case of 52,524,500 (3%

of the Stalking Horse Bidder's nominal Purchase Price of $84,150,000 before adjustments, and

3.3Yo        of the Stalking Horse Bidder's expected 577.5 million Purchase Price after adjustments)

should be reduced to 82,325,000, which is 3Yo of the Stalking Horse Bidder's expected 977.5

million Purchase Price after adjustments. The proposed expense reimbursement of $2,000,000

far exceeds the median expense reimbursement in bankruptcy sales of this size and should be

reduced to no more than $500,000 (0.59% of the Stalking Horse Bidder's nominal Purchase

Price of $84,150,000 before adjustments, and 0.65% of the Stalking Horse Bidder's expected

577 .5       million Purchase Price after adjustments).




    Strategic requests that the Court takejudicial notice ofthe Declarations attached hereto as Exhibits A and B
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III.                                        r    s Should B                                     And
                ould Pro                                                ders' Fin
           15.           The proposed Bidding Procedures and proposed Bidding Procedures Order
contain a number of other provisions that unfairly and improperly favor the Stalking Horse

Bidder:

                         (a)      Disclosure of Qualified     Bids. The proposed Bidding Procedures       state

that the Debtors shall provide copies of each Qualified Bid to the Stalking Horse Bidder and

notify the Stalking Horse Bidder as to the identify of all bidders making Qualif,red Bids (Bidding

Procedures $$ 3.a, 7 at 3,10 [D.I. 37-2, pp.4, 11]). In contrast, the Debtors are only required to

provide a copy of the Baseline Bid to other Qualified Bidders (Bidding Procedures $ 7 at 10 [D,I.

37-2, p.      Ill).       This procedure unfairly favors the Stalking Horse Bidder, who will be the only

Bidder to have copies of all Qualified                Bids. Other Qualified    Bidders, who    will not receive
copies of the other Qualified Bids,              will be at a bidding disadvantage because unlike the Stalking
Horse Bidder, they              will not know   the terms of any Qualified Bids other than the Baseline Bid or

even the identify of other Qualified Bidders. The Bidding Procedures should be changed so that

all Qualified Bidders receive copies of all Qualified Bids, together with the redlines against the

Stalking Horse Bid that all Bidders are required to submit with their Bids, in each case at the

same time such documents and information are provided to the Stalking Horse Bidder.

                          ft)     Confïdentialitv    of Bidder Financia                    .    The   proposed

Bidding Procedures state that             if requested by the Debtors, Bidders may be required to provide
financial information to support their Bids (Bidding Procedures $$ 2.b,4.b at 3,5 lD.L 37-2, pp.

4,61). The Debtors are required to maintain the confidentiality of such financial information, but

may share the information with counsel for the DIP Agent, counsel to the Secured Lender, and

counsel for the Creditors' Committee. The term "DIP Agent," although not defined, presumably

means Wells Fargo Bank, National Association, as administrative agent for the Debtors' debtor-

in-possession financing. The term "secured Lender," however, is not defined, and Strategic is




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concerned that the term may refer to any number of secured creditors of the Debtors other than

Wells Fargo Bank.lo In addition, Strategic is concerned that its financial information may be

shared with the Stalking Horse Bidder as part of the Debtors' sharing of bid information with the

Stalking Horse Bidder. The Bidding Procedures should make clear that bidder financial

information will not be shared with counsel for any lender other than Wells Fargo Bank or with

the Stalking Horse Bidder or any other bidders, some or all of whom may be competitors of each

other.

                           (c)    Due Dilieence and Phvsical Inspection Rishts. The proposed Bidding

Procedures state that             "for all Potential Bidders other than the Stalking Horse Bidder, the due
diligence period will end on the Bid Deadline" (Bidding Procedures $ 4.a at 4 [D.I. 37-2, p. 5))'

Strategic requests that this provision be modified to treat all bidders equally. The Stalking Horse

Bidder has already had more than a year to conduct its due diligence, and other bidders, who

have had far less time, should also be able to continue their due diligence.                   In addition, the
Stalking Horse APA gives the Stalking Horse Bidder rights of physical access and inspection,

rights to consult with personnel of the Silver Lake Debtors, and the right to undertake non-

invasive environmental, mechanical and structural surveys (Stalking Horse APA $ 8'5 at 42lD.I.

37-5, p.501). The Bidding Procedures should also expressly grant these rights to other bidders.

                            (d)   Stalkins Horse Bidder as Backup Bidder. The proposed Bidding
Procedures state that             "if   the Stalking Horse Bidder is required to serve as Backup Bidder, the

terms and conditions              of such service shall be governed by the Stalking Horse APA (Bidding
Procedures g 8.d at 14 [D.I.              37-2,p.15]. Section 7.3 of the Stalking Horse APA more explicitly
states that "fn]otwithstanding anything to the contrary herein or in the             Bid Procedures Order, in

the event Sellers elect to proceed with an Alternative Transaction, Buyer              will not be obligated to




  The term "secured Lender" also appears without definition in Sections 1.f, 3.a, 3.d,4.b,5'a,5'c,7,7.c ,8'a, and 9
ro

of the proposed Bidding Procedures lb.I.37-21and Paragraph 4 of the proposed Bidding Procedures Order [D'I. 37-
l, p. lll).


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serve as the Back-up Bidder at a higher Purchase Price or on terms and conditions less favorable

to Buyer, than set forth in this Agreement" (Stalking Horse APA $ 7.3 at 39-40 [D.I. 37-5, pp'

47-4Sl). The effect of these provisions is that the Stalking Horse Bidder can bid up other parties

at the Auction, elect to be the Backup Bidder, and revert back to its original bid as its Backup

Bid, even if another bidder would otherwise qualify as the Backup Bidder. This is not only

unfair to other bidders, but potentially detrimental to creditors.               If the Stalking Horse   Bidder

choses to        bid at the Auction and is selected     as the Backup Bidder, its Backup     Bid should be its

highest bid at the Auction, not its original Stalking Horse Bid.

                           (e)    Supplemental Assumption and Assisnment, Pangraphs 20 through              23


of the proposed Bidding Procedures Order specify procedures by which the Debtors will provide

a supplemental notice of assumption and assignment of executory contracts and                       unexpired

leases, and contract counterparties           will be given an opportunity to object, in the event that the
Stalking Horse Bidder modifies its Purchased Contract List (Bidding Procedures Order aI 15-17
                                                                                     provide
[D.I. 37-1, pp. 16-1S]). There are no comparable provisions requiring the Debtors to                          a


supplemental notice               of assumption and   assignment   if   a bidder other than the Stalking Horse

Bidder is the Successful Bidder and (i) wishes to modify its Purchased Contract List, or (ii)

includes Purchased Contracts               in its   Purchased Contract      List that are not included in   the

Purchased Contracts List of the Stalking Horse             Bidder. Paragraphs 20 through 23 of the Bidding

Procedures Order should                  be modified to     accommodate supplemental assumption and

assignments              of executory contracts and unexpired leases by a bidder other than the Stalking
Horse Bidder who becomes the Successful Bidder.

IV.            The Auction Should Be Held In Los Aneeles.
               16.         The proposed Bidding Procedures, the proposed Auction and Sale Notice, and the

proposed Assumption and Assignment Notice each specify that the Auction                    will be conducted at

the offices of DLA Piper LLP (US) in Wilmington, Delaware (Bidding Procedures $ 7 at 10 [D.I'

37-2, p. 111; Auction and Sale Notice at 2 [D.I. 37-8, p. 3]; and Assumption and Assignment

Notice at2lD.I.37-10, p. 3]). To avoid unnecessary expense and inconvenience for interested

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parties, Strategic submits that the Auction should instead be held in Los Angeles, California.

The Silver Lake Debtors are all California limited liability companies, and Silver Lake Medical

Center (the hospital to be sold) is located in Los Angeles.

               17.         The Stalking Horse Bidder and its financial advisor and attorneys are located in or

near Los Angeles (see Stalking Horse APA                    $   14.6 Qrlotices) at 65 [D.I. 37-5, p, 73]), and

Strategic and its attorneys are located in or near Los Angeles. Other potential bidders are also

likely to be located in or near Los Angeles. Moreover, the address of the Silver Lake Debtors'

attorneys, McDermott               Will & Emery LLP,    as listed   in the Stalking Horse APA, is located in Los

Angeles (Stalking Horse APA $ 14.6 Q'{otices) at 65 [D.I. 37-5,p'73]).

               18.         The Auction easily could and should be held at the offlrces of the Silver Lake

Debtors' attorneys, McDermott Will & Emery LLP, at 2049 Century Park East, Suite 3800, Los

Angeles, California 90067.                If that location is unavailable,   Strategic's attorneys, Buchalter, A

Professional Corporation,               with offices at 1000 Wilshire Blvd., Suite 1500, Los           Angeles,

California 90017, are willing to host the Auction at their offrces.




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                                           CONCLUSION
        19.     In view of the foregoing, Strategic respectfully requests that the Court (a) modify

the proposed Bidding Procedures and proposed Bidding Procedures Order as set forth herein, and

(b) grant such other and further relief as is just,

Dated: November 27,2018                          LANDIS               COBB LLP
       V/ilmington, Delaware

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                                                 -and-

                                                 BUCHALTER, A Professional Corporation
                                                 Mary H. Rose Qtro hac vice pending)
                                                 Paul S. Arrow Qtro hac vice pending)
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